       Case 20-10330-amc         Doc 19 Filed 04/03/20 Entered 04/03/20 17:35:59                 Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

       CATHERINE CLARK                                Chapter 13



                              Debtor                  Bankruptcy No. 20-10330-AMC

                                OBJECTION OF CHAPTER 13 TRUSTEE
                              TO CONFIRMATION OF PLAN OF DEBTOR(S)

       AND NOW comes, WILLIAM C. MILLER, ESQUIRE, chapter 13 standing trustee, to object to
confirmation of the chapter 13 plan of debtor(s), because it fails to comply with 11 U.S.C. Sections 1322
and/or 1325 of the Bankruptcy Code, and/or debtor(s) has/have failed to provide information,
evidence, or corrections to the petition, schedules, statements or other documents filed by debtor(s) to
enable the standing trustee to evaluate the Plan for confirmation, as follows:

Debtor(s) has/have failed to provide an appropriate contribution affidavit as directed at the meeting of creditors.
Debtor(s) has/have failed to file an amended plan as directed at the meeting of creditors.

       WHEREFORE, the standing trustee requests that the Court enter an order in the form annexed hereto
denying confirmation of the Plan.


                                                      Respectfully submitted,

                                                        /s/ William C. Miller
                                                      William C. Miller, Esquire
                                                      Chapter 13 Standing Trustee
